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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO. 01-282

JOHNNY DAVIS                                       SECTION “R”


                            ORDER AND REASONS

     Before the Court are petitioner Johnny Davis’ motion to

amend petition under 28 U.S.C. § 2255 and his motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255.                For

the following reasons, the Court GRANTS in part and DENIES in

part the motion for leave to amend and DENIES the motion to

vacate, set aside, or correct sentence.



I. BACKGROUND

     On October 12, 2001, a federal grand jury indicted Johnny

Davis and others for allegedly committing various federal crimes,

including conspiracy to distribute heroin, conspiracy to

distribute heroin using juveniles, and conspiracy to carry
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firearms.   The grand jury also charged Davis with using a firearm

to further the drug trafficking conspiracy and, in doing so,

murdering four people.      On September 5, 2002, the grand jury

returned a second superseding indictment for violations of the

Federal Gun Control Act and the Federal Controlled Substances

Act, charging Johnny Davis and others with conspiracy to

distribute heroin in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(A), all in violation of 21 U.S.C. § 846 (Count One);

conspiracy to distribute heroin using juveniles in violation of

21 U.S.C. §§ 841(a)(1) and 861(a)(1) (Count Two); and conspiracy

to carry firearms in furtherance of the conspiracy in violation

of 18 U.S.C. § 924(o) (Count Three).        Davis was also charged with

being a felon in possession of a firearm in violation of 18

U.S.C. § 922(g)(1) and 18 U.S.C. § 924(a)(2) (Counts Five, Seven,

Nine, and Eleven).    Lastly, Davis was charged with using a

firearm to further the alleged drug trafficking conspiracy in

violation of 18 U.S.C. § 924(c)(1) and, in doing so, causing the

deaths of four people in violation of 18 U.S.C. § 924(j) (Counts

Four, Six, Eight, and Ten).     Davis and others went to trial on

the charges set forth in the second superseding indictment.

     On May 14, 2003, a jury found Davis guilty of Counts One,

Two, Three, Six, Seven, Eight, Nine, Ten, and Eleven, but

acquitted him on Counts Four and Five.       On September 17, 2003,

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the Court sentenced Davis to a term of life imprisonment as to

Counts One, Six, Eight, and Ten; to a term of 720 months

imprisonment as to Count Two; to a term of 120 months

imprisonment as to Counts Seven, Nine, and Eleven; and to a term

of 240 months as to Count Three, all terms to run concurrently.

Davis then filed a timely notice of appeal.         On March 7, 2005,

the Fifth Circuit Court of Appeals affirmed petitioner’s

convictions.    See United States v. Davis, 124 Fed. Appx. 838 (5th

Cir. 2005).    The Supreme Court denied Davis’ petition for writ of

certiorari on October 3, 2005.     See Davis v. United States, 126

S.Ct. 129 (2005).

     Petitioner now moves the Court to vacate, set aside, or

correct his sentence under Section 2255.        Specifically, Davis

asserts the following claims: (1) appellate counsel was

ineffective for failing to raise an argument based on United

States v. Booker, 543 U.S. 220 (2005), in a petition for

rehearing en banc or petition for writ of certiorari; (2) trial

counsel failed to present essential witnesses in Davis’ defense;

(3) trial counsel failed to object to several errors; (4)

appellate counsel “failed to raise claims”; (5) certain wiretaps

violated Davis’ constitutional rights; and (6) trial counsel

failed to object to “several PSI issues.”        (R. Doc. 965).       Davis

also states: “All grounds not previou[s]ly [] presented is due to

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ineffective counsel at trial and on appeal, and in the writ of

Cert.”    (Id.).   Petitioner also requests leave to amend his

petition to narrow claims raised in his original petition and to

add one claim.     The Court rules as follows.



II. DISCUSSION

     A.      Timeliness

     Section 2255 provides as follows:

          A 1-year period of limitation shall apply to a motion
          under this section. The limitation period shall run
          from the latest of--

          (1) the date on which the judgment of conviction
          becomes final;
          (2) the date on which the impediment to making a
          motion created by governmental action in violation of
          the Constitution or laws of the United States is
          removed, if the movant was prevented from making a
          motion by such governmental action;
          (3) the date on which the right asserted was
          initially recognized by the Supreme Court, if that
          right has been newly recognized by the Supreme Court
          and made retroactively applicable to cases on
          collateral review; or
          (4) the date on which the facts supporting the claim
          or claims presented could have been discovered
          through the exercise of due diligence.

28 U.S.C. § 2255.    This Court received petitioner’s motion for

habeas relief on September 18, 2006, which was within one year

after petitioner’s conviction became final by virtue of the

Supreme Court’s denial of Davis’ petition for writ of certiorari.

Petitioner therefore timely filed his Section 2255 petition.

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        B.    Motion to Amend Petition

        At the time Davis filed his original Section 2255 petition,

he also filed a motion for an extension of time to file his

memorandum in support of his petition.       On November 14, 2006, the

Court denied Davis’ motion, but did grant him an additional three

weeks to supplement his claims because he filed his original

petition three weeks before AEDPA’s one-year deadline.            (R. Doc.

974).    Davis did not supplement his claims during this three-week

period.      On January 17, 2007, Davis filed a motion to amend his

petition.     In the motion, Davis seeks to “remove the

generalization of the grounds listed . . . to specifically state

what ‘errors’ left trial counsel and appellate counsel

ineffective.”     (R. Doc. 982).   Davis asserts that this amendment

is appropriate because it relates back to the claims raised in

his original petition.      In the motion to amend, Davis also “avers

the Court lacked jurisdiction which can be raised at any time.”

(Id.).

        The government concedes, and the Court finds, that

petitioner is permitted to amend his original petition as to his

ineffective assistance of counsel claims because they arise out

of the same conduct set forth in the original petition.            See

generally 28 U.S.C. § 2242; FED. R. CIV. P. 15(c), 81(a)(2).             By

contrast, the government contends that leave to amend is

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inappropriate as to petitioner’s lack of jurisdiction claim

because it does not relate back to any of the claims asserted in

Davis’ original petition.     In Mayle v. Felix, the Supreme Court

held that “[a]n amended habeas petition . . . does not relate

back (and thereby escape AEDPA’s one-year time limit) when it

asserts a new ground for relief supported by facts that differ in

both time and type from those the original pleading set forth.”

545 U.S. 644, 650 (2005).     Here, Davis failed to raise any

challenge to the Court’s jurisdiction in his original petition.

Furthermore, Section 2255 explicitly states that post-conviction

challenges to a federal court’s jurisdiction are subject to

AEDPA’s one-year statute of limitations.        See 28 U.S.C. § 2255

(“A prisoner in custody under sentence of a court established by

Act of Congress claiming the right to be released upon the ground

that . . . the court was without jurisdiction to impose such

sentence . . . may move the court which imposed the sentence to

vacate, set aside or correct the sentence. . . .             A 1-year period

of limitation shall apply to a motion under this section.”).                 The

Court therefore denies petitioner’s motion to amend his petition

to the extent that he seeks to add a lack of jurisdiction claim

as that claim is time-barred under Section 2255.




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     C.      Petitioner’s Claims

             1.     Ineffective Assistance of Counsel

     To establish a claim of constitutionally ineffective

assistance of counsel, petitioner must show both (1) that

counsel’s performance fell below an objective standard of

reasonableness, and (2) that but for counsel’s deficient

performance, the likely outcome of the proceeding would have been

different.        See Strickland v. Washington, 466 U.S. 668, 687-96

(1984).    Petitioner must meet both prongs of the Strickland test

and, if the Court finds that petitioner has made an insufficient

showing as to either prong, the Court may dispose of the claim

without addressing the other prong.           See id. at 697.     The Fifth

Circuit has held that trial counsel’s performance must be

compared to “an objective standard of reasonableness, mindful of

the strong presumption of adequacy.”           Green v. Johnson, 116 F.3d

1115, 1122 (5th Cir. 1997).       A district court should not “find

inadequate representation merely because, with the benefit of

hindsight,” the court disagrees with trial counsel’s strategic

choices.     Id.    The Fifth Circuit has made it clear that “[a]

conscious and informed decision on trial tactics and strategy

cannot be the basis for constitutionally ineffective assistance

of counsel unless it is so ill chosen that it permeated the

entire trial with obvious unfairness.”           Id. (citing Garland v.

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Maggio, 717 F.2d 199, 206 (5th Cir. 1983) (on rehearing)); see

also Cotton v. Cockrell, 343 F.3d 746, 752-53 (5th Cir. 2003).

The Fifth Circuit applies the same standard for ineffective

assistance of counsel to trial and appellate counsel.            United

States v. Merida, 985 F.2d 198, 202 (5th Cir. 1993).           With these

principles in mind, the Court considers petitioner’s allegations

of ineffective assistance of counsel.

     Davis first contends that his appellate counsel “was

ineffective for failing to raise Booker Violation as requested by

Movant.”   (R. Doc. 965).    More specifically, he states:

       After Movant was convicted, the Jury, during the
       penalty phase, stated that defendant should receive
       some other sentence than life. Movant raised
       pursuant to Apprendi and Ring that he should not
       receive life. The Court denied it and sentenced
       movant according to the guidelines to life. After
       the appeal was denied movant request[ed] that Counsel
       raise Booker in his Rehearing en banc and Writ of
       Cert.

(Id.) (emphasis added).     The Fifth Circuit recently stated that

“absent extraordinary circumstances, we will not consider Booker

issues raised for the first time in a petition for rehearing.”

United States v. Taylor, 409 F.3d 675, 676 (5th Cir. 2005)

(citing United States v. Hernandez-Gonzalez, 405 F.3d 260 (5th

Cir. 2005)).   The court also concluded that “[i]t would be

illogical . . . absent exceptional circumstances, to consider an

argument raised for the first time in a petition for certiorari .

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. . .”   Id.   Moreover, the Fifth Circuit has found that

“[c]ounsel is not deficient for failing to raise every

meritorious claim that may be pressed on appeal.”             Green v.

Johnson, 116 F.3d 1115, 1125-26 (5th Cir. 1997).             In light of

these holdings, this Court concludes that the performance of

Davis’ appellate counsel was not deficient under Strickland

because of the failure to raise a Booker claim for the first time

in a petition for rehearing en banc or in a petition for writ of

certiorari.

     Davis next asserts that his assistance of counsel was

ineffective in the following ways: “Counsel, during trial failed

to pres[]ent essential witnesses in Movant’s defense”; “Counsel

at trial failed to object to several errors”; “Counsel on appeal

failed to raise claims”; and “Counsel failed to object to several

PSI issues.”   (R. Doc. 965).    In amending his petition as to

these ineffective assistance of counsel claims, Davis essentially

withdraws these claims by moving the Court to “remove the

generalization of the grounds listed.”       (R. Doc. 982).        In any

event, Davis fails to present any specific facts that would

support his general descriptions of the ineffective assistance

that he allegedly received.     Thus, the Court cannot find that

petitioner has carried his burden to show either prong of the

Strickland test.   Petitioner’s ineffective assistance of counsel

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claims must be denied.

            2.   Unconstitutional Wiretaps

     Davis also contends that “[t]he wire taps were in violation

of petitioner’s constit[ut]ional rights.”         (R. Doc. 965).

“Relief under 28 U.S.C. § 2255 is reserved for transgressions of

constitutional rights and for a narrow range of injuries that

could not have been raised on direct appeal and would, if

condoned, result in a complete miscarriage of justice.”             United

States v. Gaudet, 81 F.3d 585, 589 (5th Cir. 1996) (quoting

United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (per

curiam)).   Claims that have been raised and considered on direct

appeal may be dismissed without reconsideration of the merits

when rehashed again in a collateral attack unless immediate

disposal of the issue would be a disservice to the ends of

justice.    See United States v. Vaughn, 955 F.2d 367, 368 (5th

Cir. 1992); United States v. Kalish, 780 F.2d 506, 508 (5th Cir.

1986) (“It is settled in this Circuit that issues raised and

disposed on in a previous appeal from an original judgment of

conviction are not considered in § 2255 Motions.”).

     The Government submits, and this Court agrees, that this

basis for Section 2255 relief constitutes nothing more than an

attempt to raise the same issue that was raised on direct appeal,

and that the claim is therefore procedurally barred.            See id.

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The record reflects that Davis’ contention that the “wire taps

were in violation of petitioner’s constitutional rights” was

addressed and rejected by the Fifth Circuit.          See Davis, 124 Fed.

Appx. at 840-43.    Accordingly, this claim is rejected as it is

procedurally barred.

           3.    Lack of Jurisdiction

     Finally, the Court notes that even if petitioner’s lack of

jurisdiction claim had been timely filed, it would have

nevertheless been dismissed as it is procedurally barred.             “A

defendant ‘may not raise an issue [constitutional or

jurisdictional in nature] for the first time on collateral review

without showing both ‘cause’ for his procedural default, and

‘actual prejudice’ resulting from the error.’”          United States v.

Segler, 37 F.3d 1131, 1133 (5th Cir. 1994) (quoting United States

v. Shaid, 937 F.2d 228, 232 (5th Cir. 1991)).          Here, petitioner

baldly asserts that “[a]ll grounds not previou[s]ly [] presented

is due to ineffective counsel at trial and on appeal, and in the

writ of Cert.”   (R. Doc. 965).     This conclusory allegation, with

no factual support, is insufficient grounds on which the Court

can find either cause or prejudice for the failure to raise the

jurisdictional issue on direct appeal.        The claim is therefore

procedurally defaulted.     Moreover, the claim is patently without

merit.   Petitioner relies on the government’s use of the phrase

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“had such killing taken place within the territorial or maritime

jurisdiction of the United States” in its opposition brief.               (R.

Doc. 1001).     This argument is misplaced, as the government was

merely quoting the exact language used in U.S.S.G. § 2D1.1(d)(1);

it was not offering any comment as to the jurisdiction of this

Court to adjudicate Davis’ offenses.        Davis provides no other

support for his jurisdictional challenge, and the Court finds

none.



III. CONCLUSION

        For the foregoing reasons, the Court GRANTS in part and

DENIES in part petitioner’s motion to amend his Section 2255

petition, and DENIES petitioner’s Section 2255 motion to vacate,

set aside, or correct the sentence.         Petitioner’s application for

post-conviction relief must be DISMISSED with prejudice.



        New Orleans, Louisiana, this 30th
                                      ___ day of July, 2007.




                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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